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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NANCY REED-MURRY,

             Plaintiff,
                                           CIVIL ACTION NO. 1:15-CV-00731-
v.                                         WSD

CENTENE CORPORATION and
CENTENE MANAGEMENT
COMPANY, LLC,
             Defendants.


        JOINT MOTION TO CONSOLIDATE AND SUPPORTING
                   MEMORANDUM OF LAW

      Pursuant to Federal Rule of Civil Procedure 42(a), Plaintiff Nancy Reed-

Murry and Defendants Centene Corporation, and Centene Management Company,

LLC (collectively “Centene Defendants”) file this Joint Motion to Consolidate,

seeking the Court’s consolidation of Cheryl Greenfield and Stephanie Robinson on

behalf of themselves and all others similarly situated v. Centene Corporation,

Centene Management Company, LLC, and Page Staffing Alternatives, Inc. D/B/A

Executive Business Solutions, Civil Action No. 1:15-CV-00895-AT, assigned to

Judge Amy Totenberg (“Greenfield”), into this first filed action Nancy Reed-Murry

v. Centene Corporation and Centene Management Company, LLC, Civil Action
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No. 1:15-CV-00731-WSD (“Reed-Murry”). 1 As detailed below, the allegations are

factually related and consolidation is in the interest of judicial economy at this

early juncture. In particular, Plaintiffs (who are represented by the same counsel)

intend to pursue FLSA collective action claims on behalf of themselves and other

alleged similarly situated employees. Although Defendants (who are represented

by the same counsel) deny that Plaintiffs’ collective action claims are appropriate,

the parties submit that significant efficiencies will be afforded to the Court and the

parties if the actions are consolidated and discovery and a determination on

whether collective treatment is appropriate occur in a single action.

I.       PROCEDURAL BACKGROUND
         On March 12, 2015 Plaintiff Nancy Reed-Murry filed a Complaint against

the Centene Defendants alleging violations of the Fair Labor Standards Act, 29

U.S.C. § 201 et seq. (the “FLSA”). See No. 1:15-CV-00731-WSD, Docket No. 1.

Reed-Murry contends that she was not properly paid for all time worked as a

“Talent Acquisition Specialist” or “Recruiter.” (Dkt. 1 at ¶ 15.)

         On March 27, 2015, Plaintiffs in the Greenfield case filed a putative

collective action complaint against the Centene Defendants, and “Executive




1
    The Greenfield parties agree to this consolidation.

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Business Solutions EBS, LLC.” 2 See No. 1:15-CV-00895-AT, Docket No. 1. On

July 1, 2015, Judge Totenberg granted the Greenfield Plaintiffs’ unopposed motion

regarding substitution of Pace Staffing Services as a Defendant, and their First

Amended Complaint is now operative in Greenfield. See No. 1:15-CV-00895-AT,

Docket Nos. 12, 13. The Greenfield case also alleges violations of the FLSA, and,

like Reed-Murry, Plaintiffs claim that they and others employed as “Talent

Acquisition Specialists” or “Recruiters” were not properly paid for all time

worked. (Greenfield, Dkt. 13 at ¶ 21.)

II.   ARGUMENT AND AUTHORITY
      The Federal Rules of Civil Procedure and applicable case law support the

parties’ request to consolidate these cases, particularly for purposes of early

discovery and/or determination of whether the FLSA claims can proceed on a

collective action basis. Because this action was filed first, the parties submit that

consolidation of the later-filed Greenfield action into this action is appropriate.

Rule 42(a) of the Federal Rules of Civil Procedure provides that “[i]f actions


2
 On June 10, 2015, Plaintiffs in the Greenfield case filed Named Plaintiffs’ Motion
to Add and Drop a Defendant. See No. 1:15-CV-00895-AT, Docket No. 9.
Specifically, Plaintiffs in the Greenfield case sought to add Pace Staffing
Alternatives, Inc. d/b/a Executive Business Solutions as a defendant and to drop
Executive Business Solutions EBS, LLC as a defendant. Attached to Plaintiff
Greenfield and Plaintiff Robinson’s motion was their proposed amended
complaint.

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before the court involve a common question of law or fact, the court may: (1) join

for hearing or trial any or all matters at issue in the actions; (2) consolidate the

actions; or (3) issue any other orders to avoid unnecessary cost or delay.” FED. R.

CIV. P. 42(2). Courts have broad discretion to consolidate cases. 3 See Young v.

City of Augusta, 59 F.3d 110, 1168 (11th Cir. 1995).

      Reed-Murry and Greenfield both involve alleged FLSA violations against

Defendants that arise out of the employment of “Talent Acquisition Specialists” or

“Recruiters,” Defendants’ classification of employees, and Defendants’ pay

practices.4 Compare, e.g., Greenfield, No. 1:15-CV-00895-AT, Docket No. 13 ¶¶

18, 21, 24, 31, with Reed-Murry, No. 1:15-CV-00731-WSD, Docket No. 1 ¶¶ 15,

17, 22. As a result of these alleged violations, Plaintiffs in Reed-Murry and

Greenfield claim that they are entitled to unpaid wages, liquidated damages, and

attorneys’ fees.

      In addition, practical considerations justify consolidation, including that

counsel for the parties’ are the same in both cases, and both cases are in the initial

stages of litigation. The parties, therefore, request that the Court consolidate the


3
  Similarly, Rule 1 directs that the rules should be construed to secure the “just,
speedy, and inexpensive determination” of every proceeding.
4
   Defendants maintain their objections and defenses to collective action
certification and to the claims of all Plaintiffs, and nothing in this motion is
intended to waive those objections and defenses.

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Greenfield into the Reed-Murry case in the interest of judicial economy and

efficiency. 5 See, e.g., Gholston v. Humphrey, No. 5:12-CV-97-MTT-MSH, 2012

WL 5383124, at *1 (M.D. Ga. Sept. 24, 2012) (consolidating numerous actions

brought by inmates and noting that “[a]lthough these cases are not suitable for

class treatment, they may be consolidated pursuant to Federal Rules of Civil

Procedure Rule 42(a).”), report and recommendation adopted, No. 5:12-CV-97

MTT, 2012 WL 5383122 (M.D. Ga. Nov. 1, 2012). 6

III.   CONCLUSION
       For the reasons set forth above, the parties respectfully request that this

Court grant their Joint Motion to Consolidate and order consolidation of Greenfield

(Civil Action No. 1:15-CV-00895-AT) into Reed-Murry (Civil Action No. 1:15-

5
   As Reed-Murry was filed first, the parties agree that Greenfield should be
consolidated into this action, and both actions should proceed under case number
1:15-CV-00731-WSD. See Colorado River Water Conservation Dist. v. United
States, 424 U.S. 800, 817 (1976)(discussing “first-filed” rule and explaining, “[a]s
between federal district courts … the general principle is to avoid duplicative
litigation”); Travel Spike, LLC v. Travel Ad Network, Inc., No. 1:11-cv-3199-RWS,
2012 WL 887591, at *2 (N.D. Ga. Mar. 15, 2012) (discussing the “first to file
rule,” and noting that the court where the first action was filed should decide if the
second action should be consolidated); Fuller v. Abercrombie & Fitch Stores, Inc.,
370 F. Supp.2d 686, 688 (E.D. Tenn. 2005) (transferring second FLSA action to
first-filed action, explaining factors for the first filed rule include the chronology of
the actions, the similarities of the parties involved, and the similarities of the
issues; emphasizing “the parties and issues need not be identical …. Rather, the
crucial inquiry is whether the parties and issues substantially overlap”).
6
  For the Court’s convenience, a proposed order granting this motion is attached as
Exhibit A.

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CV-00731-WSD).



      Respectfully submitted on this 22nd day of July, 2015 by:



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                          FONT CERTIFICATION


      The undersigned hereby certifies that this pleading complies with the

requirements of LR 5.1B because the document has been prepared in Times New

Roman, 14 point, and 1.5” and 1” margins.



                                        /s/ Tracey T. Barbaree
                                        Tracey T. Barbaree
                                        Attorney for Defendants




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 NANCY REED-MURRY,

              Plaintiff,
                                              CIVIL ACTION NO. 1:15-CV-00731-
 v.                                           WSD

 CENTENE CORPORATION and
 CENTENE MANAGEMENT
 COMPANY, LLC,
              Defendants.


                           CERTIFICATE OF SERVICE

      I hereby certify that on July 22, 2015, the foregoing JOINT MOTION TO

CONSOLIDATE AND SUPPORTING MEMORANDUM OF LAW was filed

electronically through the ECF system, is available for viewing and downloading

from the ECF system and will be sent electronically to the registered participants

identified on the Notice of Electronic Filings:

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